J-S27032-18


NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.O.P. 65.37

 DONALD KNUDSEN                         :    IN THE SUPERIOR COURT OF
                                        :         PENNSYLVANIA
                   Appellant            :
                                        :
                                        :
              v.                        :
                                        :
                                        :
 ELLIOT BROWNSTEIN, M.D.,               :    No. 3453 EDA 2017
 GLENSIDE INTERNAL MEDICINE,            :
 PRESBYTERIAN HOSPITAL MEDICAL          :
 CENTER, ANEESH KHUSHMAN, M.D.,         :
 AND THE TRUSTEES OF THE                :
 UNIVERSITY OF PENNSYLVANIA             :

             Appeal from the Order Entered October 13, 2017
   In the Court of Common Pleas of Montgomery County Civil Division at
                           No(s): 2013-23058

BEFORE: SHOGAN, J., LAZARUS, J., and DUBOW, J.

JUDGMENT ORDER BY DUBOW, J.:                          FILED JULY 23, 2018

     Appellant, Donald Knudsen, purports to appeal from the trial court’s

October 13, 2017 Order granting in part and denying in part his Post-Trial

Motion following a non-jury trial limited to his damages. Because the trial

court has not entered judgment, this appeal is premature. Accordingly, we

quash.

     The facts are largely immaterial to our disposition. Briefly, on April 6,

2016, Appellant filed an Amended Complaint against Aneesh Khushman,
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raising claims of negligence and fraud.1 Khushman failed to file an Answer to

the Complaint.

       On June 1, 2016, the prothonotary entered a default judgment in

Appellant’s favor and against Khushman pursuant to Pa.R.C.P. No. 1037(b).2

On July 19, 2017, the trial court held a bench trial on damages pursuant to

Pa.R.C.P. No. 1037(b)(2).3           Appellant appeared for trial and presented

evidence against Khushman. Khushman did not appear.

       Following the trial on damages, the court concluded that Appellant had

failed to present evidence that Khushman’s conduct was the legal cause of

Appellant’s injuries. Thus, the court awarded Appellant zero damages.

       Appellant filed a Post-Trial Motion, which the trial court granted in part

and denied in part on October 13, 2017. This appeal followed. Both Appellant

and the trial court complied with Pa.R.A.P. 1925.

       Appellant raises the following three issues on appeal:

____________________________________________


1 The Complaint also named as defendants Elliott Brownstein, M.D., Glenside
Internal Medicine, Presbyterian Hospital Medical Center, and the Trustees of
the University of Pennsylvania. Presbyterian Hospital Medical Center and the
Trustees of the University of Pennsylvania were dismissed by stipulation on
April 18, 2016. Appellant, Elliott Brownstein, M.D., and Glenside Internal
Medicine proceeded to binding arbitration resulting in a confirmed award in
favor of Brownstein and Glenside and against Appellant.

2 “The prothonotary, on praecipe of the plaintiff, shall enter judgment against
the defendant for failure to file within the required time a pleading to a
complaint[.]” Pa.R.C.P. No. 1037(b).

3In the event of entry of a default judgment, the trial court shall hold a trial
on damages where the damages to which the prevailing party is entitled are
not a sum certain. See Pa.R.C.P. No. 1037(b)(2).

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J-S27032-18


      1. Whether the trial court erred by determining causation at
         Appellant’s assessment of damages hearing?

      2. Whether the trial court erred [in] holding [that] Appellant failed
         to make out causation on his claim for negligence where default
         judgment had already been obtained?

      3. Whether the trial court erred in holding [that] Appellant failed
         to establish by clear and convincing evidence that Appellee’s
         fraud was a factual cause of any injury or loss to Appellant?

Appellant’s Brief at 8.

      Before reaching the merits of Appellant’s issues, we first address

whether we have jurisdiction to consider this Appeal.

      As noted supra, following the prothonotary’s entry of a default

judgment in Appellant’s favor, the trial court held a trial to assess the amount

of Appellant’s damages. See Pa.R.C.P. No. 1037(b)(1). Displeased with the

trial court’s zero-dollar verdict, Appellant filed a Post-Trial Motion. The court

granted the Motion in part and denied it in part, but did not enter judgment

on the verdict.

      It is axiomatic that an appeal to the Superior Court can only lie from a

judgment entered subsequent to the trial court’s disposition of a party’s post-

trial motion, not from the order denying the post-trial motion. U.S. Bank,

N.A. v. Pautenis, 118 A.3d 386, 387 n.2 (Pa. Super. 2015).

      Because the trial court has not entered judgment in this matter, this

appeal is premature. Accordingly, we quash it.

      Appeal quashed.




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Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary



Date: 7/23/18




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